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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

FULTON COUNTY EMPLOYEES’
RETIREMENT SYSTEM, Derivatively on Behalf
of THE GOLDMAN SACHS GROUP, INC.,

Plaintiff,
VS.

LLOYD BLANKFEIN, DAVID M. SOLOMON,
M. MICHELE BURNS, DREW G. FAUST,
MARK A, FLAHERTY, WILLIAM W.
GEORGE, JAMES A. JOHNSON, ELLEN J.
KULLMAN, LAKSHMIN. MITTAL, No. 1:19-CV-01562-VSB
ADEBAYO 0. OGUNLESI, PETER

OPPENHEIMER, JAN E. TIGHE, DAVID A. PROPOSED] ORDER
VINIAR, and MARK O. WINKELMAN,

Defendants,
and
THE GOLDMAN SACHS GROUP, INC.,

Nominal Defendant.

 

 

WHEREAS, on February 19, 2019, Plaintiff Fulton County Employees’ Retirement
System (“Fulton County”) filed a Verified Shareholder Derivative Complaint (“Complaint”) in the
above-captioned action; and

WHEREAS, Defendants intend to file a motion to dismiss the Complaint pursuant
to Rules 12(b) and 23.1 of the Federal Rules of Civil Procedure (“Dismissal Motion”).

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and
between the attorneys for the undersigned parties to this action, as follows:

1. The undersigned counsel for Defendants hereby accepts service of the

Complaint in this action on behalf of all Defendants.

 
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2. Defendants will serve and file the Dismissal Motion on or before May 13,
2019,

3. Plaintiff will have 60 days from service of the Dismissal Motion to serve
and file its opposition to the Dismissal Motion (“Opposition”).

4. Defendants will have 45 days from the service of the Opposition to serve
and file a reply memorandum in support of the Dismissal Motion.

5. Plaintiff hereby dismisses its Complaint without prejudice as to Defendants
Jan E. Tighe and Drew G., Faust.

6. Plaintiff reserves all rights to seek amendment of its Complaint, and
Defendants reserve all rights to oppose.

7. Defendants reserve and do not waive all rights and defenses, including as to

Jurisdiction, except for a defense as to the sufficiency of service of the Complaint.

 
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Dated: New York, New York
March 14, 2019

 

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Oppenheimer, Jan E. Tighe, David A. Viniar, and Mark
O. Winkelman

SO ORDERED,

 

Hon. Vernon S. Broderick
United States District Judge

 
